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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

 JACQUELINE DOWNARD                              )        CASE NO.
 2314 Finley Chapel Road                         )
 Wellston, Ohio 45692,                           )        JUDGE:
                                                 )
                              Plaintiff,         )
                                                 )
                       v.                        )        COMPLAINT FOR DAMAGES
                                                 )        AND INJUNCTIVE RELIEF
 CHILLICOTHE KENWORTH, LLC                       )
 65 Kenworth Drive                               )        JURY DEMAND ENDORSED
 Chillicothe, Ohio 45601                         )        HEREIN
                                                 )
        Serve Also:                              )
        Chillicothe Kenworth, LLC                )
        Capitol Corporate Services, Inc.         )
        4568 Mayfield Road, Suite 204            )
        Cleveland, Ohio 44121                    )
                                                 )
        -and-                                    )
                                                 )
 MICHAEL GIFFEN                                  )
 395 Lorraine Drive                              )
 Pickerington, Ohio 43147,                       )
                                                 )
                              Defendants.        )

       Plaintiff, Jacqueline Downard, by and through undersigned counsel, as her Complaint

against Defendant Chillicothe Kenworth, LLC and Michael Giffen, states and avers the following:

                             PARTIES, VENUE, & JURISDICTION

1. Downard is a resident of the city of Wellston, Jackson County, Ohio.

2. Kenworth is a foreign limited liability company that does business at 65 Kenworth Drive,

   Chillicothe, Ross County, Ohio 45601.

3. Kenworth is and, at all times herein, was an employer within the meaning of R.C. § 4112.01

   et seq.
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4. Giffen is a resident of the state of Ohio.

5. Giffen was a manager for Kenworth.

6. This court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 in that Downard is alleging

   a Federal Law Claim under Title VII of the Civil Rights Act of 1964 (“Title VII”), 42 U.S.C. §

   2000e.

7. All material events alleged in this Complaint occurred in Ross County, Ohio.

8. This Court has supplemental jurisdiction over Downard’s state law claims pursuant to 28

   U.S.C. § 1367 as Downard’s state law claims are so closely related to her federal law claims

   that they form part of the same case or controversy under Article III of the United States

   Constitution.

9. Venue is proper in this Court pursuant to 28 U.S.C. § 1391.

10. Within 300 days of the conduct alleged below, Downard filed a Charge of Discrimination with the

   Equal Employment Opportunity Commission (“EEOC”), Charge No. 473-2022-00760 against

   Kenworth (“Downard EEOC Charge”).

11. Downard dually filed the Downard EEOC Charge with the EEOC and the Ohio Civil Rights

   Commission.

12. On or about August 17, 2022, the EEOC issued a Notice of Right to Sue letter to Downard

   regarding the Downard EEOC Charge.

13. Downard received her Right to Sue letter from the EEOC in accordance with 42 U.S.C. §

   2000e-5(f)(1), which has been attached hereto as Plaintiff's Exhibit A.

14. Downard has filed this Complaint within 90 days of the issuance of the Notice of Right to Sue

   letter.




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15. Downard has properly exhausted her administrative remedies pursuant to 29 C.F.R. §

   1614.407(b).

16. Downard has properly exhausted her administrative remedies pursuant to R.C. § 4112.052.

                                                FACTS

17. In or about November 2020, Downard began working for Kenworth.

18. Kenworth employed Downard as a Maintenance Unit Manager.

19. Downard is female.

20. Downard was the only female Maintenance Unit Manager at Kenworth.

21. Giffen was Downard’s manager.

22. Giffen is male.

23. During Downard’s employment, Giffen made comments about Downard’s gender (“Sexist

   Comments”).

24. Among the Sexist Comments, Giffen told Downard, “You’re a woman. You wouldn’t get it.”

25. Among the Sexist Comments, Giffen told Downard, “Grow a fucking set of nads. We’re all men

   here.”

26. Every unit manager other than Downard had an assistant called a “grade 5 technician.”

27. Downard did not have a grade 5 technician assisting her.

28. On multiple occasions, Downard requested a grade 5 technician.

29. Kenworth’s failure to assign Downard a grade 5 technician made her job more difficult.

30. In or about March 2021, Downard complained to Giffen that he was discriminating against her due

   to her gender (“First Report of Discrimination”).

31. After the First Report of Discrimination, Giffen started requiring Downard to take orders from

   Jacob Pechacek.



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32. Pechacek was a reliability engineer for Kenworth.

33. Giffen did not require any Maintenance Unit Managers other than Downard to take orders from

   Pechacek.

34. Prior to the First Report of Discrimination, Kenworth did not require Downard to take orders from

   Pechacek.

35. Unit managers do not report to reliability engineers at Kenworth.

36. In or about April 2021, Pechacek instructed maintenance workers to alter fans, belts, and motors

   on an assembly line (“Alterations”).

37. In or about April 2021, Pechacek falsified safety documents (“Falsification”).

38. The Alterations posed a safety hazard to employees.

39. Downard reasonably believed that the Alterations posed a safety hazard to employees.

40. The Falsification posed a safety hazard to employees.

41. Downard reasonably believed that the Falsification posed a safety hazard to employees.

42. In or about April 2021, Downard made reports to Brian Putnam and Kenworth’s ethics department

   (“April 2021 Reports”).

43. Putnam was human resources director for Kenworth.

44. In the April 2021 Reports, Downard reported Pechacek’s Alterations.

45. In the April 2021 Reports, Downard reported Pechacek’s Falsification.

46. In the April 2021 Reports, Downard reported that Giffen was making her take orders from

   Pechacek.

47. In the April 2021 Reports, Downard reported that Giffen was retaliating against her for the First

   Report of Discrimination.

48. Kenworth has a policy against discrimination (“Discrimination Policy”).



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49. Kenworth’s Discrimination Policy precludes retaliation against employees who complain

   about discrimination.

50. Alternatively, retaliation against employees who complain about discrimination is permitted

   by Kenworth.

51. Kenworth’s Discrimination Policy precludes intimidation against employees who complain

   about discrimination.

52. Alternatively, intimidation against employees who complain about discrimination is permitted

   by Kenworth.

53. Kenworth’s Discrimination Policy requires employees to report what they reasonably believe

   is a violation of the Discrimination Policy.

54. Kenworth’s Discrimination Policy precludes retaliation against employees who report a

   violation of the Discrimination Policy.

55. Alternatively, retaliation against employees who report a violation of the Discrimination Policy

   is permitted by Kenworth.

56. Kenworth’s Discrimination Policy precludes intimidation against employees who report a

   violation of the Discrimination Policy.

57. Alternatively, intimidation against employees who report a violation of the Discrimination

   Policy is permitted by Kenworth.

58. After the April 2021 Reports, Putnam told Giffen and Pechacek that Downard made the April

   2021 Reports.

59. After the April 2021 Reports, Giffen told employees in maintenance management that they

   needed to “watch [their] backs” around Downard.




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60. Giffen told employees in maintenance management that they needed to “watch [their] backs”

   around Downard because she made the April 2021 Reports.

61. Giffen told Downard, “You need to watch your back,” because of her April 2021 Reports.

62. On or about May 7, 2021, Downard made a written report to Putnam (“May 2021 Report”).

63. In the May 2021 Report, Downard complained that Giffen was discriminating against her based

   on her gender.

64. In the May 2021 Report, Downard complained that Giffen was retaliating against her for reporting

   discrimination.

65. In the May 2021 Report, Downard complained about the Alterations.

66. In response to the May 2021 Report, Kenworth did not give Giffen a verbal warning.

67. In response to the May 2021 Report, Kenworth did not give Giffen a written warning.

68. In response to the May 2021 Report, Kenworth did not give Giffen a final warning.

69. In response to the May 2021 Report, Kenworth did not give Giffen a demotion.

70. In response to the May 2021 Report, Kenworth did not give Giffen a suspension.

71. In response to the May 2021 Report, Kenworth did not terminate Giffen’s employment.

72. In response to the May 2021 Report, Kenworth did not discipline Giffen at all.

73. After the May 2021 Report, Giffen stopped speaking with Downard at work.

74. After the May 2021 Report, Giffen stopped including Downard in emails sent to other members

   of management.

75. Giffen’s excluding Downard from emails hindered Downard’s ability to perform her job.

76. After the May 2021 Report, Defendants changed Downard’s hours.

77. After the May 2021 Report, Defendants cut Downard’s pay rate.

78. Hereinafter, Paragraphs 73 through 77 are called the “Retaliatory Behavior.”



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79. The Retaliatory Behavior would deter a reasonable person from making reports of discrimination.

80. The Retaliatory Behavior would deter a reasonable person from reporting unsafe working

   conditions.

81. The Retaliatory Behavior was an adverse employment action.

82. The Retaliatory Behavior was an adverse action.

83. Defendants did the Retaliatory Behavior intentionally.

84. Defendants did the Retaliatory Behavior willfully.

85. Defendants did the Retaliatory Behavior in retaliation for Downard’s April 2021 Reports.

86. Defendants did the Retaliatory Behavior in retaliation for Downard’s May 2021 Report.

87. Defendants did the Retaliatory Behavior because of Downard’s gender.

88. On or about February 5, 2022, Giffen gave Downard a negative performance review.

89. On or about February 5, 2022, Giffen placed Downard on a “personal growth plan” (“PGP”).

90. Giffen did not place Downard’s similarly-situated male coworkers on PGPs.

91. Giffen told Downard that her employment would be terminated if she did not meet the goals in the

   PGP.

92. The PGP contained goals that were subjective.

93. The PGP contained goals that were unrealistic.

94. The PGP required Downard to have face-to-face meetings with managers throughout the plant on

   how she and her subordinates were performing.

95. Defendants did not require managers other than Downard to have face-to-face meetings with

   managers throughout the plant on how they and their subordinates were performing.

96. In the PGP, Giffen gave Downard additional job duties.




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97. In or about March 2022, Downard’s doctor diagnosed her with diabetes and a form of

   cardiovascular disease.

98. In or about March 2022, Downard’s doctor told her that stress from work was negatively impacting

   her health.

99. In or about March 2022, Downard’s doctor told her, “Your job is not worth your health.”

100. On or about March 28, 2022, a reasonable person in Downard’s position would have felt

    compelled to resign.

101. On or about March 28, 2022, Downard reasonably believed that her termination was imminent.

102. On or about March 28, 2022, Defendants constructively discharged Downard.

103. On or about March 28, 2022, Defendants constructively discharged Downard because of her

    gender.

104. On or about March 28, 2022, Defendants constructively discharged Downard in retaliation for her

    opposing discrimination.

105. On or about March 28, 2022, Defendants constructively discharged Downard in retaliation for her

    reporting safety hazards.

106. As a direct and proximate result of Defendants’ conduct, Downard suffered and will continue

    to suffer damages, including economic, emotional distress, and physical sickness damages.

          COUNT I: GENDER DISCRIMINATION IN VIOLATION OF TITLE VII

                                       (Defendant Kenworth)

107. Downard restates each and every prior paragraph of this Complaint, as if it were fully

    restated herein.

108. Downard is a member of a statutorily protected class based on her gender under Title VII.




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109. Defendants treated Downard differently than other similarly-situated employees based on

    her gender.

110. Defendants discriminated against Downard on the basis of her gender throughout her

    employment with the company.

111. Defendants terminated Downard’s employment without just cause.

112. Defendants terminated Downard’s employment based on her gender.

113. Defendants’ discrimination against Downard based on her gender violates Title VII.

114. As a direct and proximate result of Defendants’ conduct, Downard suffered and will continue

    to suffer damages, including economic, emotional distress, and physical sickness damages.

    COUNT II: GENDER DISCRIMINATION IN VIOLATION OF R.C. § 4112.01 et seq.

                                     (Defendant Kenworth)

115. Downard restates each and every prior paragraph of this Complaint, as if it were fully

    restated herein.

116. Downard is a member of a statutorily protected class based on her gender under R.C.

    § 4112.02.

117. Defendants treated Downard differently than other similarly-situated employees based on

    her gender.

118. Defendants discriminated against Downard on the basis of her gender throughout her

    employment with the company.

119. Defendants terminated Downard’s employment without just cause.

120. Defendants terminated Downard’s employment based on her gender.

121. Defendants’ discrimination against Downard based on her gender violates R.C. § 4112.01 et

    seq.



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122. As a direct and proximate result of Defendants’ conduct, Downard suffered and will continue

    to suffer damages, including economic, emotional distress and physical sickness damages.

                COUNT III: RETALIATION IN VIOLATION OF TITLE VII

                                      (Defendant Kenworth)

123. Downard restates each and every prior paragraph of this complaint, as if it were fully restated

    herein.

124. As a result of Defendants’ discriminatory conduct described above, Downard complained

    about the discrimination she was experiencing.

125. Subsequent to Downard’s reporting of discrimination, Defendants required Downard to take

    orders from Pechacek.

126. Subsequent to Downard’s reporting of discrimination, Defendants did the Retaliatory

    Behavior.

127. Subsequent to Downard’s reporting of discrimination, Defendants placed Downard on the

    PGP.

128. Subsequent to Downard’s reporting of discrimination, Defendants constructively discharged

    Downard.

129. Defendants’ actions were retaliatory in nature based on Downard’s opposition to the unlawful

    discriminatory conduct.

130. Pursuant to Title VII, it is an unlawful discriminatory activity to retaliate against an employee

    for opposing discrimination.

131. As a direct and proximate result of Defendants’ conduct, Downard suffered and will continue

    to suffer damages, including economic, emotional distress, and physical sickness damages.




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              COUNT IV: RETALIATION IN VIOLATION OF R.C. § 4112.02(I)

                                        (All Defendants)

132. Downard restates each and every prior paragraph of this complaint, as if it were fully restated

    herein.

133. As a result of Defendants’ discriminatory conduct described above, Downard complained

    about the discrimination she was experiencing.

134. Subsequent to Downard’s reporting of discrimination, Defendants required Downard to take

    orders from Pechacek.

135. Subsequent to Downard’s reporting of discrimination, Defendants did the Retaliatory

    Behavior.

136. Subsequent to Downard’s reporting of discrimination, Defendants placed Downard on the

    PGP.

137. Subsequent to Downard’s reporting of discrimination, Defendants constructively discharged

    Downard.

138. Defendants’ actions were retaliatory in nature based on Downard’s opposition to the unlawful

    discriminatory conduct.

139. Pursuant to R.C. § 4112.02(I), it is an unlawful discriminatory practice “to discriminate in

    any manner against any other person because that person has opposed any unlawful

    discriminatory practice defined in this section…”

140. As a direct and proximate result of Defendants’ conduct, Downard suffered and will continue

    to suffer damages, including economic, emotional distress, and physical sickness damages.




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   COUNT V: WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY

                                         (All Defendants)

141. Downard restates each and every prior paragraph of this Complaint, as if it were fully

    restated herein.

142. A clear public policy exists and is manifested in Ohio statutes and/or administrative

    regulations, including R.C. §§ 4101.11 and 4101.12, or in the common law, requiring

    employers to maintain a safe environment for employees and frequenters.

143. Defendants constructively discharged Downard.

144. Defendants’ constructive discharge of Downard jeopardizes these public policies.

145. Defendants’ constructive discharge of Downard was motivated by conduct related to these

    public policies.

146. Defendants had no overriding business justification for discharging Downard.

147. As a direct and proximate result of Defendants’ conduct, Downard has suffered and will

    continue to suffer damages, including economic, emotional distress, and physical sickness

    damages.

              COUNT VI: UNLAWFUL AIDING, ABETTING, AND INCITING OF
                               DISCRIMINATION

148. Downard restates each and every prior paragraph of this Complaint, as if it were fully restated

    herein.

149. Pursuant to R.C. § 4112.02(J), it is unlawful “[f]or any person to aid, abet, incite, compel, or

    coerce the doing of any act declared by this section to be an unlawful discriminatory

    practice...”

150. Giffen aided, abetted, incited, coerced, and/or compelled Kenworth’s discriminatory

    constructive discharge of Downard.


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151. Giffen aided, abetted, incited, coerced, and/or compelled Kenworth’s discriminatory

    treatment of Downard.

152. Giffen violated R.C. § 4112.02(J) and § 4112.99 by aiding, abetting, and inciting

    discrimination.

153. As a direct and proximate result of Giffen’s conduct, Downard has suffered and will continue

    to suffer damages, including economic, emotional distress, and physical sickness damages.

                                     DEMAND FOR RELIEF

WHEREFORE, Plaintiff Downard respectfully requests that this Honorable Court grant the

following relief:

(a) Issue a permanent injunction:

   (i)     Requiring Kenworth to abolish discrimination, harassment, and retaliation;

   (ii)    Requiring allocation of significant funding and trained staff to implement all changes

           within two years;

   (iii)   Requiring removal or demotion of all supervisors who have engaged in discrimination,

           harassment, or retaliation, and failed to meet their legal responsibility to investigate

           complaints promptly and/or take effective action to stop and deter prohibited personnel

           practices against employees;

   (iv)    Creating a process for the prompt investigation of discrimination, harassment, or

           retaliation complaints; and

   (v)     Requiring mandatory and effective training for all employees and supervisors on

           discrimination, harassment, and retaliation issues, investigations, and appropriate

           corrective actions;




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(b) Issue an order requiring Kenworth to restore Downard to one of the positions to which she was

   entitled by virtue of her application and qualifications, and expunge her personnel file of all

   negative documentation;

(c) An award against each Defendant of compensatory and monetary damages to compensate

   Downard for physical injury, physical sickness, lost wages, emotional distress, and other

   consequential damages, in an amount in excess of $25,000 per claim to be proven at trial;

(d) An award of punitive damages against each Defendant in an amount in excess of $25,000;

(e) An award of reasonable attorneys’ fees and non-taxable costs for Downard claims as allowable

   under law;

(f) An award of the taxable costs of this action; and

(g) An award of such other relief as this Court may deem necessary and proper.

                                                        Respectfully submitted,


                                                        /s/ Trisha Breedlove_________
                                                        Trisha Breedlove (0095852)
                                                        Paul Filippelli (0097085)
                                                        SPITZ, THE EMPLOYEE’S LAW FIRM
                                                        1103 Schrock Road, Suite 307
                                                        Columbus, Ohio 43229
                                                        Phone: (216) 291-4744
                                                        Fax: (216) 291-5744
                                                        Email: trisha.breedlove@spitzlawfirm.com
                                                        Email: paul.filippelli@spitzlawfirm.com
                                                        Attorneys for Plaintiff Jacqueline Downard


                                        JURY DEMAND

   Plaintiff Downard demands a trial by jury by the maximum number of jurors permitted.


                                                        /s/ Trisha Breedlove_______
                                                        Trisha Breedlove (0095852)
                                                        Paul Filippelli (0097085)


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